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     8                             UNITED STATES DISTRICT COURT

     9                           CENTRAL DISTRICT OF CALIFORNIA

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    11   NETLIST INC., a Delaware corporation,     Case No. 8:20-cv-00993-MCS-ADS

    12                       Plaintiff,            [PROPOSED] ORDER ON EX PARTE
                                                   APPLICATION APPROVING SAMSUNG’S
    13         v.                                  SUPERSEDEAS BOND AND STAYING
                                                   EXECUTION OF AWARD OF COSTS
    14   SAMSUNG ELECTRONICS CO., LTD, a           PENDING APPEAL (ECF NO. 328)
         Korean corporation,
    15                                             Judge: Mark C. Scarsi
                             Defendant.
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              [PROPOSED] ORDER APPROVING SAMSUNG’S SUPERSEDEAS BOND AND
                                   STAYING EXECUTION
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    1                                               ORDER
    2           The Court, having considered Defendant Samsung Electronics Co., Ltd.’s Ex Parte
    3   Application for Approval of Supersedeas Bond and Stay of Execution of Award of Costs
    4   Pursuant to Federal Rule of Civil Procedure 62(b), along with the memorandum of points and
    5   authorities and supporting declaration, hereby GRANTS the Application:
    6           IT IS ORDERED that the supersedeas bond proffered by Samsung, in the amount of
    7   $83,078.00, is HEREBY APPROVED; and
    8           IT IS FURTHER ORDERED that the execution of the award of costs in favor of
    9   Plaintiff Netlist Inc., dated April 1, 2022, and proceedings to enforce it, are HEREBY STAYED
   10   pursuant to Federal Rule of Civil Procedure 62(b) pending disposition of the pending appeal in
   11   this action.
   12
   13           IT IS SO ORDERED.
   14
   15           Dated: April 29, 2022
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                                                         By:
   17                                                            Mark C. Scarsi
                                                                 United States District Judge
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   19   cc: Fiscal
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               [PROPOSED] ORDER APPROVING SAMSUNG’S SUPERSEDEAS BOND AND
                                    STAYING EXECUTION
